Opinion issued August 15, 2024




                                     In The

                              Court of Appeals
                                     For The

                          First District of Texas
                            ————————————
                              NO. 01-24-00315-CV
                           ———————————
  PETROLEUM PRODUCTS &amp; SERVICES, INC. D/B/A WELLHEAD
DISTRIBUTORS INTERNATIONAL AND TIVA TECHNOLOGIES, LLC,
                       Appellants
                                        V.
 JIANGSU JINSHI MACHINERY GROUP CO. LTD., JMP PETROLEUM
TECHNOLOGIES, INC., GUANYUAN (ROBERT) XIONG AND DOES 1-8,
                        Appellees


                    On Appeal from the 61st District Court
                            Harris County, Texas
                      Trial Court Case No. 2020-29436


                         MEMORANDUM OPINION

      Appellants Petroleum Products &amp; Services, Inc. d/b/a WellHead Distributors

International and Tiva Technologies, LLC have filed a motion to dismiss this appeal
because the parties have settled their differences. Appellants indicate in their motion

that appellees are unopposed to dismissal.

      We grant the motion and dismiss the appeal. See TEX. R. APP. P. 42.1(a)(1).

Any other pending motions are dismissed as moot.

                                   PER CURIAM
Panel consists of Justices Kelly, Landau, and Rivas-Molloy.




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